                     Case: 3:21-mj-00005-slc Document #: 1 Filed: 01/12/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                __________ District of __________

                  United States of America                        )
                             v.                                   )
                  KEVIN DANIEL LOFTUS
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 6, 2021              in the county of                                           in the
                       District of          Columbia          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. 1752 (a)(1) and (2)                  Knowingly Entering or Remaining in any Restricted Building or Grounds
                                               Without Lawful Authority


40 U.S.C. 5104(e)(2)(A) and (G)                Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached Statement of Facts




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                      Jonathan Fugitt, Special Agent
                                                                                              Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                           Robin M.                        Digitally signed by Robin
                                                                                                        M. Meriweather

Date:             01/11/2021                                                   Meriweather              Date: 2021.01.11 15:02:08
                                                                                                        -05'00'
                                                                                                   Judge’s signature

City and state:                         Washington, DC                     Robin M. Meriweather, United States Magistrate Judge
                                                                                              Printed name and title
